
PER CURIAM.
The petition is granted and Larry Junior Lord is hereby afforded a belated appeal from judgment and sentence in case numbers 2004-CF-277-C and 2004-CF-4987-A in the Circuit Court in and for Escambia County. Upon issuance of mandate in this cause, a copy of this opinion will be provided to the clerk of the circuit court who shall treat it as a notice of appeal. Fla. R.App. P. 9.141(e)(5)(D). The circuit court is directed to appoint counsel for the appeal at public expense if Mr. Lord qualifies for such an appointment.
PETITION GRANTED.
BENTON, PADOVANO, and LEWIS, JJ., concur.
